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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:

5171 Campbells Land Co. Inc.,                :   Bankruptcy No. 19-22715- CMB
                                             :
                         Debtor              :
                                             :   Chapter 11
                                             :   Related to Doc. Nos. 28 & 29



               NOTICE AND ORDER SETTING EMERGENCY HEARING


               AND NOW, this 12th day of July, 2019, NOTICE IS HEREBY GIVEN THAT
a Stipulation and Consent Order (Doc. No. 28) along with the exhibits thereto (Doc. No. 29,
together the “Stipulation”) has been filed in the above-referenced case by 5171 Campbells Land
Co., Inc. (“Debtor”) and Perkins & Marie Callender’s LLC.

              On July 15, 2019 at 1:30 P.M. an EMERGENCY HEARING has been
scheduled in Courtroom B, 54th Floor U.S. Steel Tower, 600 Grant Street, Pittsburgh,
Pennsylvania.

              Objections to the Stipulation shall be filed with the Clerk of the Bankruptcy Court
and served on parties in interest on or before NOON on July 15, 2019.

               In the event that an objection is not timely filed, an Order approving the
Stipulation may be entered and the hearing may not be held. Please refer to the calendar posted
on the Court’s webpage to verify if a default order was signed or if the hearing will go forward
as scheduled.

              Telephonic participation in the hearing may be approved if arrangements are
made by calling the courtroom deputy.

                Debtor’s Counsel shall serve a copy of this completed Scheduling Order and the
Stipulation by Overnight U.S. Mail and (1) facsimile or (2) email (separate from CM/ECF). In
the alternative, service may be made by hand delivery. If hand delivery on any interested party is
made, then that alone will be considered sufficient service on that party.

              Service shall be made on all parties in interest, the 20 largest unsecured creditors,
and the United States Trustee. To the extent service by facsimile or email is ordered with respect
to the 20 largest unsecured creditors, Debtor’s Counsel is directed to provide service in this
manner only to the extent Debtor has the contact information available to do so. If relief is


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granted at the hearing, the Court may include negative notice language in such order and
require service of the order on the entire mailing matrix.

             Counsel for Debtor shall immediately file a certificate of service indicating such
service.




                                                  Carlota M. Böhm
                                                  Chief United States Bankruptcy Judge


cm: Robert O Lampl, Esq.                                              FILED
                                                                      7/12/19 11:13 am
                                                                      CLERK
                                                                      U.S. BANKRUPTCY
                                                                      COURT - WDPA




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